Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 1 of 13 PageID #: 310




 UNITED STATES DISTRICT COURT FOR THE
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------X
 BULLION SHARK, LLC.,
                                                                       DEFENDANTS’
                                             Plaintiff,                ANSWER, AFFIRMATIVE
                                                                       DEFENSES
                  -against-
                                                                       Index No. 23-CV-6529
 FLIP A COIN BULLION LLC, MATTHEW
 FORMAN, CHRISTINA CAPPELLO, JACOB
 FORMAN and JOSEPH FORMAN,

                                              Defendants.
 ------------------------------------------------------------------X

      Defendants, by their attorney, Todd Wengrovsky, for their Answer and Affirmative Defenses,

 state as follows:



                       “NATURE OF THE CASE” SECTION OF COMPLAINT

     1. Defendants admit the allegations of this Paragraph of the Complaint as to the type of claims

 Plaintiff is making, but denies the remaining allegations therein.

     2. Defendants deny each and every allegation of this Paragraph of the Complaint.

     3. Defendants deny each and every allegation of this Paragraph of the Complaint.



                                 “PARTIES” SECTION OF COMPLAINT

     4. Defendants admit the allegations of this Paragraph of the Complaint.

     5. Defendants admit the allegations of this Paragraph of the Complaint.

     6. Defendants admit the allegations of this Paragraph of the Complaint.

     7. Defendants admit the allegations of this Paragraph of the Complaint.

     8. Defendants admit the allegations of this Paragraph of the Complaint.

                                                          1
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 2 of 13 PageID #: 311




    9. Defendants admit the allegations of this Paragraph of the Complaint.



                 “VENUE AND JURISDICTION” SECTION OF COMPLAINT

    10. Defendants admit the allegations of this Paragraph of the Complaint.

    11. Defendants admit the allegations of this Paragraph of the Complaint.

    12. Defendants deny each and every allegation of this Paragraph of the Complaint.



                              “FACTS” SECTION OF COMPLAINT

    13. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    14. Defendants are without knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in this Paragraph of the Complaint.

    15. Defendants are without knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in this Paragraph of the Complaint.

    16. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    17. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    18. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    19. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.



                                                  2
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 3 of 13 PageID #: 312




    20. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    21. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    22. Defendants admit the allegations of this Paragraph of the Complaint.

    23. Defendants deny each and every allegation of this Paragraph of the Complaint.

    24. Defendants deny each and every allegation of this Paragraph of the Complaint.

    25. Defendants admit the allegations of this Paragraph of the Complaint.

    26. Defendants deny each and every allegation of this Paragraph of the Complaint.

    27. Defendants deny each and every allegation of this Paragraph of the Complaint.

    28. Defendants admit the allegations of this Paragraph of the Complaint as to the nature of the

 employment, but deny that Defendant was a “key employee.”

    29. Defendants deny each and every allegation of this Paragraph of the Complaint.

    30. Defendants deny each and every allegation of this Paragraph of the Complaint.

    31. Defendants deny each and every allegation of this Paragraph of the Complaint.

    32. Defendants admit the allegations of this Paragraph of the Complaint that they resigned from

 their employment with Bullion Shark, but deny that such was without notice.

    33. Defendants admit the allegations of this Paragraph of the Complaint.

    34. Defendants admit the allegations of this Paragraph of the Complaint with the clarification

 that the limited liability company was filed on August 7, 2023 and approved on August 16, 2023.

    35. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.



                                                  3
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 4 of 13 PageID #: 313




    36. Defendants are without knowledge or information sufficient to form a belief as to the truth of

 the allegations contained in this Paragraph of the Complaint.

    37. Defendants deny each and every allegation of this Paragraph of the Complaint.

    38. Defendants deny each and every allegation of this Paragraph of the Complaint.

    39. Defendants deny each and every allegation of this Paragraph of the Complaint.

    40. Defendants deny each and every allegation of this Paragraph of the Complaint.

    41. Defendants deny each and every allegation of this Paragraph of the Complaint.

    42. Defendants deny each and every allegation of this Paragraph of the Complaint.

    43. Defendants deny each and every allegation of this Paragraph of the Complaint.

    44. Defendants deny each and every allegation of this Paragraph of the Complaint.

    45. Defendants deny each and every allegation of this Paragraph of the Complaint.

    46. Defendants deny each and every allegation of this Paragraph of the Complaint.

    47. Defendants deny each and every allegation of this Paragraph of the Complaint.

    48. Defendants deny each and every allegation of this Paragraph of the Complaint.

    49. Defendants deny each and every allegation of this Paragraph of the Complaint.

    50. Defendants deny each and every allegation of this Paragraph of the Complaint.

    51. Defendants deny each and every allegation of this Paragraph of the Complaint.

    52. Defendants deny each and every allegation of this Paragraph of the Complaint.

    53. Defendants deny each and every allegation of this Paragraph of the Complaint.

    54. Defendants deny each and every allegation of this Paragraph of the Complaint.

    55. Defendants deny each and every allegation of this Paragraph of the Complaint.

    56. Defendants deny each and every allegation of this Paragraph of the Complaint.

    57. Defendants deny each and every allegation of this Paragraph of the Complaint.

                                                  4
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 5 of 13 PageID #: 314




    58. Defendants deny each and every allegation of this Paragraph of the Complaint.

    59. Defendants deny each and every allegation of this Paragraph of the Complaint.

    60. Defendants deny each and every allegation of this Paragraph of the Complaint.

    61. Defendants deny each and every allegation of this Paragraph of the Complaint.

    62. Defendants deny each and every allegation of this Paragraph of the Complaint.

    63. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “FIRST CAUSE OF ACTION” SECTION OF COMPLAINT

    64. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 63

 herein inclusive.

    65. Defendants deny each and every allegation of this Paragraph of the Complaint.

    66. Defendants deny each and every allegation of this Paragraph of the Complaint.

    67. Defendants deny each and every allegation of this Paragraph of the Complaint.

    68. Defendants deny each and every allegation of this Paragraph of the Complaint.

    69. Defendants deny each and every allegation of this Paragraph of the Complaint.

    70. Defendants deny each and every allegation of this Paragraph of the Complaint.

    71. Defendants deny each and every allegation of this Paragraph of the Complaint.

    72. Defendants deny each and every allegation of this Paragraph of the Complaint.

    73. Defendants deny each and every allegation of this Paragraph of the Complaint.

    74. Defendants deny each and every allegation of this Paragraph of the Complaint.

    75. Defendants deny each and every allegation of this Paragraph of the Complaint.

    76. Defendants deny each and every allegation of this Paragraph of the Complaint.

    77. Defendants admit the allegations of this Paragraph of the Complaint.

                                                5
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 6 of 13 PageID #: 315




    78. Defendants deny each and every allegation of this Paragraph of the Complaint.



                 “SECOND CAUSE OF ACTION” SECTION OF COMPLAINT

    79. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 78

 herein inclusive.

    80. Defendants deny each and every allegation of this Paragraph of the Complaint.

    81. Defendants deny each and every allegation of this Paragraph of the Complaint.

    82. Defendants deny each and every allegation of this Paragraph of the Complaint.

    83. Defendants deny each and every allegation of this Paragraph of the Complaint.

    84. Defendants deny each and every allegation of this Paragraph of the Complaint.

    85. Defendants deny each and every allegation of this Paragraph of the Complaint.

    86. Defendants deny each and every allegation of this Paragraph of the Complaint.

    87. Defendants deny each and every allegation of this Paragraph of the Complaint.

    88. Defendants deny each and every allegation of this Paragraph of the Complaint.

    89. Defendants deny each and every allegation of this Paragraph of the Complaint.

    90. Defendants deny each and every allegation of this Paragraph of the Complaint.

    91. Defendants deny each and every allegation of this Paragraph of the Complaint.

    92. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “THIRD CAUSE OF ACTION” SECTION OF COMPLAINT

    93. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 92

 herein inclusive.

    94. Defendants deny each and every allegation of this Paragraph of the Complaint.

                                               6
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 7 of 13 PageID #: 316




    95. Defendants deny each and every allegation of this Paragraph of the Complaint.

    96. Defendants deny each and every allegation of this Paragraph of the Complaint.

    97. Defendants deny each and every allegation of this Paragraph of the Complaint.

    98. Defendants deny each and every allegation of this Paragraph of the Complaint.



                 “FOURTH CAUSE OF ACTION” SECTION OF COMPLAINT

    99. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 99

 herein inclusive.

    100. Defendants deny each and every allegation of this Paragraph of the Complaint.

    101. Defendants deny each and every allegation of this Paragraph of the Complaint.

    102. Defendants deny each and every allegation of this Paragraph of the Complaint.

    103. Defendants deny each and every allegation of this Paragraph of the Complaint.

    104. Defendants deny each and every allegation of this Paragraph of the Complaint.

    105. Defendants deny each and every allegation of this Paragraph of the Complaint.

    106. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “FIFTH CAUSE OF ACTION” SECTION OF COMPLAINT

    107. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 106

 herein inclusive.

    108. Defendants deny each and every allegation of this Paragraph of the Complaint.

    109. Defendants deny each and every allegation of this Paragraph of the Complaint.




                                                7
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 8 of 13 PageID #: 317




                     “SIXTH CAUSE OF ACTION” SECTION OF COMPLAINT

    110. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 109

 herein inclusive.

    111. Defendants deny each and every allegation of this Paragraph of the Complaint.

    112. Defendants deny each and every allegation of this Paragraph of the Complaint.

    113. Defendants deny each and every allegation of this Paragraph of the Complaint.

    114. Defendants deny each and every allegation of this Paragraph of the Complaint.

    115. Defendants deny each and every allegation of this Paragraph of the Complaint.

    116. Defendants deny each and every allegation of this Paragraph of the Complaint.



                “SEVENTH CAUSE OF ACTION” SECTION OF COMPLAINT

    117. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 116

 herein inclusive.

    118. Defendants deny each and every allegation of this Paragraph of the Complaint.

    119. Defendants deny each and every allegation of this Paragraph of the Complaint.

    120. Defendants deny each and every allegation of this Paragraph of the Complaint.

    121. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “EIGHTH CAUSE OF ACTION” SECTION OF COMPLAINT

    122. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 121

 herein inclusive.

    123. Defendants deny each and every allegation of this Paragraph of the Complaint.

    124. Defendants deny each and every allegation of this Paragraph of the Complaint.

                                                8
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 9 of 13 PageID #: 318




    125. Defendants deny each and every allegation of this Paragraph of the Complaint.

    126. Defendants deny each and every allegation of this Paragraph of the Complaint.

    127. Defendants deny each and every allegation of this Paragraph of the Complaint.

    128. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “NINTH CAUSE OF ACTION” SECTION OF COMPLAINT

    129. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 128

 herein inclusive.

    130. Defendants deny each and every allegation of this Paragraph of the Complaint.

    131. Defendants deny each and every allegation of this Paragraph of the Complaint.

    132. Defendants deny each and every allegation of this Paragraph of the Complaint.

    133. Defendants deny each and every allegation of this Paragraph of the Complaint.

    134. Defendants deny each and every allegation of this Paragraph of the Complaint.

    135. Defendants deny each and every allegation of this Paragraph of the Complaint.



                     “TENTH CAUSE OF ACTION” SECTION OF COMPLAINT

    136. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 135

 herein inclusive.

    137. Defendants deny each and every allegation of this Paragraph of the Complaint.

    138. Defendants deny each and every allegation of this Paragraph of the Complaint.

    139. Defendants deny each and every allegation of this Paragraph of the Complaint.

    140. Defendants deny each and every allegation of this Paragraph of the Complaint.

    141. Defendants deny each and every allegation of this Paragraph of the Complaint.

                                                9
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 10 of 13 PageID #: 319




     142. Defendants deny each and every allegation of this Paragraph of the Complaint.

     143. Defendants deny each and every allegation of this Paragraph of the Complaint.



                 “TWELFTH CAUSE OF ACTION” SECTION OF COMPLAINT

  (*This appears to be in error: Plaintiff’s Complaint has no “ELEVENTH CAUSE OF ACTION”)



     144. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 143

  herein inclusive.

     145. Defendants deny each and every allegation of this Paragraph of the Complaint.

     146. Defendants deny each and every allegation of this Paragraph of the Complaint.

     147. Defendants deny each and every allegation of this Paragraph of the Complaint.

     148. Defendants deny each and every allegation of this Paragraph of the Complaint.

     149. Defendants deny each and every allegation of this Paragraph of the Complaint.



               “THIRTEENTH CAUSE OF ACTION” SECTION OF COMPLAINT

  (*This appears to be in error: Plaintiff’s Complaint has no “ELEVENTH CAUSE OF ACTION”)



     150. Defendants repeat and incorporate by reference their replies in Paragraphs 1 through 149

  herein inclusive.

     151. Defendants deny each and every allegation of this Paragraph of the Complaint.

     152. Defendants deny each and every allegation of this Paragraph of the Complaint.

     153. Defendants deny each and every allegation of this Paragraph of the Complaint.

     154. Defendants deny each and every allegation of this Paragraph of the Complaint.

                                                10
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 11 of 13 PageID #: 320




     155. Defendants deny each and every allegation of this Paragraph of the Complaint.

     156. Defendants deny each and every allegation of this Paragraph of the Complaint.

     157. Defendants deny each and every allegation of this Paragraph of the Complaint.

     158. Defendants deny each and every allegation of this Paragraph of the Complaint.



                           DEFENDANTS’ AFFIRMATIVE DEFENSES

        Answering further, Defendants raise the following affirmative defenses:



                                 FIRST AFFIRMATIVE DEFENSE

     The Complaint fails to state a claim upon which relief can be granted.



                               SECOND AFFIRMATIVE DEFENSE

     Defendants have not breached a valid contract or agreement with Plaintiff.



                                THIRD AFFIRMATIVE DEFENSE

     Plaintiff is barred from recovery by reason of waiver and/or estoppel.



                               FOURTH AFFIRMATIVE DEFENSE

     Plaintiff can not demonstrate injury, impact, or damage as a result of any actions or omissions by

  Defendants.




                                                  11
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 12 of 13 PageID #: 321




                                  FIFTH AFFIRMATIVE DEFENSE

     Even if Plaintiff could demonstrate injury, impact, or damage as a result of any actions or

  omissions by Defendants, Plaintiff failed to mitigate damages.



                                  SIXTH AFFIRMATIVE DEFENSE

     Plaintiff’s claims are barred, in whole or in part, due to its breach of the implied covenant of

  good faith and fair dealing.



                                 SEVENTH AFFIRMATIVE DEFENSE

     Defendants reserve any and all rights of set-off and recoupment that it may possess under the

  law.



                                 EIGHTH AFFIRMATIVE DEFENSE

     Plaintiff’s claims are barred by the doctrine of acquiescence.



     Defendants reserve the right to assert additional affirmative defenses in the event discovery

  discloses the existence of same.



     WHEREFORE, Defendants respectfully request this Court to grant judgment in their favor,

  order all claims of the complaint dismissed with prejudice, award Defendants all costs, expenses,

  disbursements and fees incurred herein, including reasonable attorneys’ fees, and such other, further

  and different relief as the Court may deem just and proper.



                                                   12
Case 2:23-cv-06529-NJC-ARL Document 41 Filed 12/01/23 Page 13 of 13 PageID #: 322




  Dated: Calverton, New York
         December 1, 2023
                                                  /s/ Todd Wengrovsky
                                                  Todd Wengrovsky
                                                  Law Offices of
                                                  Todd Wengrovsky, PLLC.
                                                  285 Southfield Road, Box 585
                                                  Calverton, NY 11933
                                                  Tel (631) 727-3400
                                                  Attorney for Defendants




                                       13
